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Co||ege land sale becomes hot issue

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Co||ege land sale becomes hot issue

By Vincent Marsha||l@vince_dcg|obe
Posted Nov 9, 2016 at 1:01 AM

Several citizens raised concerns regarding the possible Dodge City Community

College land sale for retail stores at the city commission meeting Monday night.

“I have been hearing stories that property from the college up to 40 acres may be
up for grabs in the interest of economic development,”]ohn Thomas said to the
commissioners. “I’d just like to say, We can have a college and We can have
economic development but let’s not make this a reoccurrence every 2 years that

the economic development community attacks our community college.
“Please leave it alone. Find some other place for businesses to go.”
Bill Hammond Was the next to speak about the issue.

“I came here as an individual not for anybody that I Work for,” Hammond said.
“It has come to our attention that there’s a rapidly developing discussion
regarding the sell of the land of the campus at the community college for the
purpose of retail development along north 14th Avenue and the bypass.

“It appears those that are involved in that discussion involve the chamber of
commerce, either the city commission or the administration of the city, Ford
County Development Corporation, outside developers and now Dodge City

Community College trustees.

“Obviously economic development is an important goal for the city and its
surrounding however this particular discussion raises significant concerns and I

Would like to voice my opposition on several grounds.

“First the discussion Willingly or not, has not yet involved the general public in

the transparent, inclusive manner that is should.

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“The college belongs to the public as a whole , not just select members of the

community and the public needs to be more directly engaged.

“Second the sell of the property could potentially limit the college from

developing future educational opportunities and program.

“I am personally aware of community colleges across the state of Kansas that
have become landlocked and has significantly affected their ability to grow and

meet the needs of their citizens and students.

“We do not Want and would seem unwise to limit the community college in the

way that those campuses are limited.

“Third, the sell of the land and the creation of retail businesses would not be

necessarily be cost effective to the college.

“The proposal as we understand it would require the college to tear out the $1
million football practice field it recently completed along With the adjacent
storage building.

“Further the proposal at least as we understand it, would require the college to
demolish the cosmetology building and child development center. Both

programs Would have to be relocated to new yet to be reconstructed facilities.
“Fourth, the sale price currently being discussed is $5 million.

“Is this really far less than the value of this land?

“Fifth, as of yet, no side plan for the proposed development has been offered to
the public so there is no assurance that the proposed retail businesses would be

financially stable or desirable for the land in question.

“And I would encourage before this happens to look at retail development that

goes south after the first ownership or after the first leases are done.

“Do We really want liquor stores, pawn shops, tattoo parlors, in front of Dodge

City Community Co]lege?

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“We congratulate the groups involved in this discussion given importance of
economic development however this particular discussion seems misdirected

and counter to the aims we would like to achieve.
“We would raise these concerns and our objections.”

Michael Miller then questioned the commission on what city officials can tell

them regarding the proposal.
City manager Cherise Tieben answered the question.

“Basically we just started discussions with the community college to see if there is

any interest or availability,” she said.

“Obviously we have desire to keep contrary to some opinion to keep the college

functioning and going strong.

“There’s differing opinions on the impact to the college, we have

communications With others that say see the work.

“So it’s early in the discussion, some of the information that Was shared was not

correct.”
Miller asked Which part of the information was incorrect.

Tieben replied with, “I never heard $5 million but I’m not in all the discussions

but some others may be that Were here tonight.

“So I think it’s a little premature and obviously When it gets to the point that
there is something really offered in discussion that’s the premise of generally
government You have to get out in front of the public but until We know what’s
even something people are interested in considering as far as the governing

boards it’s a little early to get out in front.

“There will still be plenty of time and plenty of opportunity for discussion and

we certainly don’t Want to limit that.

“The other thing is that this has been a project that has been in development for

probably 4, 5 or 6 years now as far as recruiting retail into the community.

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“l would say 90-plus percent of people that contact me with concerns about the
community is always the lack of retail so the Star Bonds is a very strong
incentive to offer to bring retail into the community to helps them with the
value of the land, that helps cover relocation expenses that are typically not

always incentives that communities can afford to offer.”

Miller added, “I’m glad to hear that it’s preliminary because some of the

information we have is it’s further along.

“I really believe that if the community were aware of this that they would oppose
this.

“That doesn’t mean We oppose community development that’s quite the contrary

but we don’t have to sell the college land in order to do that.”

Miller commented that they would also be taking this issue to the college board

of trustees at their next meeting.

Mayor Rock Sowers added, “We just don’t have enough information at this
point, we have some speculations and some proposals out there but this is the
fourth or fifth one that I have gone through and those four or five others have
not gone any further than just, it’s just hard to explain how hard it is to bring

retail into a community and how frustrating it is to bring it into a community.

“What’s really frustrating to me is that there is people now that seem to have
more information then What the five of us who know absolutely nothing about

it.

“We know nothing then just mere speculation so let’s all run rampant out there
in the community and let’s take off and go on a tangent with no actual factual

information.

“That’s the frustrating part. If you don’t know how hard it is to bring retail into

the community, it’s hard.”

Miller responded with, “My purpose tonight is not to present my own views
particularly but just to find out where you were on this and it seemed

appropriate in a public meeting.

“It’s helpful to know.”

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“You are welcome to come to my office and I can show you the development

agreements,” Tieben said. “Which there are none.”

To see a list of the agreements voted on during the city commission meeting,

visit dodgecity.org.

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